                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:13 cr 15-1


UNITED STATES OF AMERICA,                       )
                                                )
Vs.                                             )            ORDER
                                                )
JERRY FRANCIS PARKER,                           )
                                                )
                 Defendant.                     )
____________________________________            )


        THIS MATTER has come before the undersigned pursuant to a Motion to

Modify Bond Conditions (#140) filed by counsel for Defendant. The motion does

not contain a certification that defense counsel has conferred with opposing

counsel and state opposing counsel’s position on the relief sought, and the motion

does not provide an estimate of the length of any hearing that might be held in this

matter. LCrR 47.1(B) reads as follows:

        MOTIONS PRACTICE IN CRIMINAL CASES

        (B) Certificate of Conference With Filing.

        Pretrial motions, other than motions to suppress, ex parte motions,
        and notices (notice of substitution of counsel, notice of appearance,
        notice of intent to present certain types of evidence, etc.) shall include
        a certification that the moving party has conferred with opposing
        counsel and state opposing counsel’s position on the relief sought, or
        an explanation as to why conferring should not be required under the
        circumstances. If a hearing on a motion is requested, counsel should
        estimate the length of such hearing.


                                            1

      Case 2:13-cr-00015-MR-DLH      Document 142      Filed 12/01/14   Page 1 of 2
      Due to the failure of Defendant to comply with LCrR 47.1(B) the Motion to

Modify Bond Conditions (#140) will be denied.

                                   ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Modify Bond

Conditions (#140) is DENIED for failure of Defendant to comply with LCrR

47.1(B).


                                          Signed: December 1, 2014




                                      2

   Case 2:13-cr-00015-MR-DLH     Document 142        Filed 12/01/14   Page 2 of 2
